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                                  IPP International U.G. Declaration Exhibit A
                                   File Hashes for IP Address 67.173.172.159

ISP: Comcast Cable Communications Management, LLC
Physical Location: Barrington, IL



Hit Date UTC           File Hash                                          Title
01/22/2019 14:48:46    1B089217CDFF08CB31CD3663BD6E9B32A5A3E209           Workout and Stunning Hot Sex

01/14/2019 13:16:35    27A48293BBE561E47452739C41642B4D950259C3           SEX after WORK

01/12/2019 17:22:01    DBADB5297A88111AD4820864B7EF1F21AA822354           One Romantic Evening of Hot Sex

01/11/2019 15:06:42    BB8A65BBAE1F6002EEF27D32B1F06F71816E3F4B           In Love or Lust

01/05/2019 14:26:52    FB84F005B198570DEBC57B02B615249FA6C669E2           Fashion Show Fucking

12/22/2018 13:33:49    2A3640EDC219B2A6B0EDCAAEBDF511B050423CB5 Three is NOT a Crowd

10/20/2018 14:57:48    C72370F9777E4BC5700A0E96C2EDAB284AA8501F           Hot Fucking with Sexy Sybil and Jake


Total Statutory Claims Against Defendant: 7




                                                  EXHIBIT A
NIL981
